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                           Exhibit D
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                              Separation Agreement and Release

                                       CONFIDENTIAL

    WHEREAS, JL Powell LLC (the "Company") terminated the employment of Joshua L.
    Powell (the "Executive") on April 2, 2012 (the "Termination Date"), and

     WHEREAS, the parties hereto intend to resolve any issues pertaining to the
     circumstances or effect of such termination;

    WHEREAS, the terms of this Separation Agreement and Release (the "Agreement") will
    become effective upon the date the Executive duly executes the signature page herein
    contained (the "Effective Date");

    NOW, THEREFORE, in consideration of the mutual undertakings herein contained, the
    parties hereto agree as follows:

    1.     Cessation of Employment. The Executive's employment with the Company was
    terminated on the Termination Date. The Executive is no longer an officer, employee or
    agent of the Company. The Executive may not act on behalf of the Company, and the
    Executive may not bind the Company. The Executive acknowledges that he does not
    possess any rights or claims to any future employment with the Company, or its parents,
    subsidiaries, affiliates, divisions, successors and/or related companies.

    2.     Accrued Benefits. The Executive will receive the following amounts (the
    "Accrued Benefits") within 30 days following the Termination Date, or, if later, as
    otherwise scheduled in any applicable policy:

           (a) any base salary accrued and unpaid as of the Termination Date; and

           (b) reimbursement of any reasonable business expenses which were incurred in
    performance of the Executive's duties prior to the Termination Date, subject to the
    provisions of the Company's expense reimbursement policy and approval by Will Dargie.

    The Executive acknowledges and agrees that he is not entitled to any accrued and unused
    vacation pay under the Company's applicable vacation policy or otherwise. The
    Executive's right to continue to participate in any of the retirement, insurance and other
    benefit plans and programs of the Company in effect as of the Termination Date shall be
    determined according to the terms and provisions of such programs and plans and
    applicable law.

    3.     Severance. Subject to the Executive's acknowledgment and acceptance of the
    representations and warranties of Section 4 below and compliance with the provisions of
    Section 5 below, the Executive shall also be eligible to receive the following:

            (a) Severance in an aggregate amount equal to the Executive's annual base salary
    at the rate of $150,000 per year. This severance shall be paid to the Executive in 26 bi-
    weekly installments in a gross amount of $5,769.23 each, which shall be reduced by:
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           (i) $913.30 per installment, reflecting repayment of an aggregate debt of
    $23,745.77 owing from the Executive to the Company and incurred by the Executive
    after March 10, 2010;

           (ii) the amount of any Company funds, including without limitation charges to the
    Executive's Company credit card or advance cash for photo shoots, used by the
    Executive for personal purposes or personal benefit or without providing the Company
    with corresponding receipts and other supporting documentation to the extent such
    amounts have not been previously identified and recovered; and

           (iii) applicable tax withholding;

    all in accordance with the Company's payroll practices and procedures, on the same
    schedule as if the Executive was still employed by the Company, commencing no later
    than the second regularly scheduled payroll period following the date the Executive signs
    this Agreement, provided the Executive signs and returns this Agreement during the
    Consideration Period (defined below) and complies with Section 5 below; and

            (b) Eligibility for payment of the 2012 Bonus Opportunity (as defined in the
    Executive's Amended and Restated Employment Agreement dated November 1, 2011
    (the "EA")) on the date such bonus, if any, is paid, subject to satisfaction of the Bonus
    Performance Criteria (as defined in the EA), as determined by the Company in its sole
    discretion.

    The Executive acknowledges that the Executive is not owed and will not receive or be
    paid any payments or benefits or other form of compensation other than as expressly set
    forth above. The provisions of this Section 3 shall not become effective until the
    Effective Date. If the Executive materially breaches or violates any of the promises or
    covenants set forth in Section 4, 5, or 6 of this Agreement, the Company shall have no
    further obligation to make the severance payments to the Executive, and shall have the
    right to obtain from the Executive reimbursement of any severance payments already
    paid to the Executive pursuant to this Agreement, in addition to any and all other rights or
    remedies available to the Company under this Agreement or applicable law.

    4.     Representations and Warranties. In order to induce the Company to enter into this
    Agreement and in consideration of the payments and benefits provided in Section 3 of
    this Agreement, the Executive represents and warrants the following:

            (a) The Executive has not knowingly retained any property of the Company,
    specifically including but not limited to, files, notes, drawings, records, product samples,
    business plans and forecasts, financial information, specifications, computer-recorded
    information, tangible property (including, but not limited to, computers), credit cards,
    entry cards, identification badges, and keys, or any materials of any kind that contain or
    embody any proprietary or confidential information of the Company (and all
    reproductions thereof), customer lists or any other customer information, creative
    materials, including, without limitation, designs for, or drawings of, garments or
    accessories, potential garments or accessories, or any other materials relating to the
    design, production or procurement of any product sold or under development during the
    period of Executive's employment, including fabric samples and swatches, photographs
    in digital or any other form, the Company's financial information and any marketing
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    information, including any information relating to the Company's sales or other
    performance based on the gathering and analysis of catalog and sales information.

           (b) The Executive has not engaged in competition in violation of, or otherwise
    violated either the Employment Agreement or the .11, Powell LLC Proprietary
    Information and Inventions Agreement executed by the Executive on March 8, 2010 (the
    "IP Agreement") and the Executive has no current intention to violate any provision of
    the EA or the IP Agreement.

           (c) The Executive has not used Company trade secrets or Proprietary Information
    (as such term is defined in the IP Agreement) in violation of the EA or the IP Agreement,
    and

           (d) The Executive has neither denigrated or disparaged the Company or any of its
    officers, members, directors, employees or agents (the "Company Persons"), nor made
    statements intended to be harmful to any such Company Persons. In consideration of the
    foregoing, the Company represents that it has neither denigrated or disparaged the
    Executive, nor made statements intended to be harmful to the Executive.

     5. Obligations and Contingencies.

            (a) The Executive will not be entitled to any of the consideration described in
    Section 3 above, unless the Executive has properly executed and returned this Agreement
    prior to the close of business on May 16, 2012, and has not withdrawn the Executive's
    Release during the applicable seven (7) day withdrawal period, such that the Release
    contained herein has become fully and permanently effective.

            (b) The Executive will not take any action to interfere with the Company's use of
     the Executive's likeness, or any and all existing film and photography of the Executive's
     likeness during the calendar years of 2012 and 2013.

             (c) The Executive's obligations under Sections 4 and 5 (the "Restrictive
     Covenants") of the EA, and the Executive's continuing obligations under the IP
     Agreement, shall remain in full force and effect, and shall be fully enforceable in
     accordance with the terms and conditions of the EA or the IP Agreement, as applicable,
     following the Executive's termination of employment with the Company and the
     Executive's execution of this Agreement. By signing this Agreement, the Executive (i)
     recognizes, acknowledges and agrees that the Executive has carefully read and fully
     understands the Restrictive Covenants in the EA and the IP Agreement and remains fully
     responsible and liable for complying with the Restrictive Covenants in the EA and the IP
     Agreement, and (ii) represents and warrants to the Company that, at no time prior to the
     Effective Date, did the Executive engage in any conduct that would breach the Executive's
     promises to the Company set forth in the Restrictive Covenants of the EA and the IP
     Agreement.

            (d) Simultaneously with the execution hereof the Executive submits the
     Executive's written resignation as a director of the Company in the form attached hereto
     as Exhibit A, which resignation is effective immediately.

             (e) The Executive agrees that in the future the Executive shall not, and will not
     direct others to, denigrate, disparage or criticize the Company or any of its Company
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    Persons, or make any statements otherwise intended to be harmful to the Company or
    Company Persons. The Company agrees that it will not, and will direct the Company
    Persons not to, denigrate, disparage, or criticize the Executive.

           (f) The Executive acknowledges that the Executive has previously surrendered the
    Executive's C Units to the Company and the Executive holds no membership interest in
    the Company. This does not apply to any ownership interest the Executive may hold in
    JL Powell, Inc.

            (g) The Executive has no further rights to the Special Incentive Award. However,
    if, from the Termination Date through March 9, 2014 (the "Forgiveness Date"), the
    Executive complies with the provisions of this Agreement, and the vesting provisions set
    forth in Section 2(c)(ii)(E),(F) and (G) of the EA, all as determined by a majority of the
    Company's Board of Directors, the Executive's obligations to the Company under the
    Promissory Note dated March 10, 2010, having a principal amount of $57,370.65 (the
    "Note") will be forgiven on the Forgiveness Date. If those obligations are not so
    forgiven, the Note shall be payable immediately in full on the next day following the
    Forgiveness Date.

    6.     Release.

            (a) Except for the Company's obligations pursuant to Sections 2 and 3 of this
    Agreement, to the broadest extent permitted by law, the Executive hereby releases and
    discharges the Company and its parents, subsidiaries and affiliates, and each of its and
    their past, present and future officers, directors, members, servants, employees, attorneys,
    insurers, successors, independent contractors, consultants and assigns (each a "Releasee"
    and collectively, the "Releasees") from any and all claims, expenses, contracts, demands,
    obligations, liabilities, actions, costs, debts and causes of action of every nature, known
    or unknown, which have existed or now exist whether in law or equity which the
    Executive has or had or may claim to have by reason of any and all matters from the
    beginning of time through the date the Executive executes this Agreement (the
    "Release"). These include, but are not limited to, claims or causes of action based on, or
    arising out of, any alleged wrongful termination, retaliation, breach of contract, breach of
    implied covenant of good faith and fair dealing, common law torts, breach of public
    policy, misrepresentation, fraud, fraudulent inducement, infliction of emotional distress,
    failure to pay wages or other compensation and/or discrimination or harassment based on
    race, national origin, marital status, sex, religion, age, sexual orientation and/or disability.
    The Executive specifically understands that by signing this Release, in addition to
    releasing any and all claims against the Company, the Executive is specifically releasing
    any and all rights and claims up to the Effective Date which the Executive has for alleged
    age discrimination under the Age Discrimination in Employment Act of 1967, as
    amended ("ADEA"), against the Company, its directors, officers, employees and other
    Releasees released in this Release. This Release shall not, however, constitute a waiver
    of (a) the Executive's rights under Sections 2 and 3 of this Agreement intended to
    survive the Executive's termination of employment; (b) any rights to indemnification the
    Executive may have under the Company's governance instruments, or any coverage the
    Executive may have under insurance maintained by the Company relating to actions by
    the Executive on behalf of the Company within the scope of and during the course of the
    Executive's employment with the Company; or (c) any claims to enforce rights arising
    under the ADEA or other civil rights statute after the Effective Date.
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            (b) The Executive represents that there has been no filing on the Executive's
    behalf through the date hereof with any government agency or court of any claim, charge,
    or complaint against the Company or any other Releasee. The Executive agrees that the
    Executive knows of no bases for any claim described in the immediately preceding
    paragraph, and that, to the extent consistent with applicable law, the Executive shall not
    hereafter pursue any individual claim against any of the Releasees by filing a claim,
    complaint or charge with any federal, state or local court, arbitration panel or
    administrative agency, for or on account of anything that is the subject of this Release,
    and that the Executive shall indemnify the Releasees and hold them harmless for any
    such claim, including, without limitation, their reasonable legal fees incurred in respect of
    any such claim. To the extent consistent with applicable law, the Executive hereby
    waives any right that the Executive may have to recover any compensation or damages in
    any action against any of the Releasees brought by any governmental entity on the
    Executive's behalf or on behalf of any class of which the Executive may be a member for
    or on account of anything that is the subject of this Release. Notwithstanding anything to
    the contrary in this paragraph, nothing in this section shall be construed to interfere with
    the Executive's right to participate in an investigation or proceeding conducted by the
    EEOC or to file a charge or complaint with the EEOC. However, the consideration
    provided to the Executive in this Agreement shall be the sole relief provided for the
    claims that are released by the Executive herein. Notwithstanding anything to the
    contrary in this paragraph, this paragraph shall not apply to claims in respect of, and shall
    not prevent the Executive from seeking to enforce, any of the Executive's rights
    described in the last sentence of the immediately preceding paragraph.

           (c) The Executive acknowledges that the purpose of this Release is to release
    claims, if any, that the Executive may have against any of the Releasees, and to the extent
    that any alleged claim is not or cannot be released under current law, the payments
    provided by the Company in this Agreement shall be an offset against any such
    unreleased claim, if any.

           (d) The Executive understands that neither this Release nor anything in it or this
    Agreement shall be considered as any admission by the Company or any Releasee of any
    preexisting obligation, liability, wrongdoing or improper conduct whatsoever. The
    Executive understands that the Company and each Releasee denies any such obligations
    or improper conduct.

           (e) The Executive acknowledges that the Executive has read this Release and
    understands its contents. The Executive acknowledges that the Executive is signing this
    Release voluntarily and without any coercion. The Executive acknowledges that the
    Executive is of sound mind and competent to manage the Executive's legal, personal and
    business affairs and enter into a binding agreement in this regard, and is not currently
    prevented from doing so by the effects of any intoxicant, drug, medication, health
    condition or other influence.

             (f) The Executive acknowledges that the making, execution and delivery of this
     Release has been induced by no promises, representations, statements, warranties or
     agreements other than those expressed herein. The Executive understands it supersedes
     all prior discussions and agreements between the Executive and the Company or any
     representative or affiliate of the Company, whether oral or in writing. The Executive also
     agrees that if any provision of this Release is deemed invalid, the remaining provisions
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    will still be given full force and effect. This Release cannot be orally modified, orally
    revised, or orally rescinded, and can only be amended in a written instrument signed by
    both the Executive and an authorized representative of the Company.

    7.     Company Expenses and Property: The Executive represents and warrants that, at
    no time during the Executive's employment, did the Executive incur and/or approve of
    any expenses on behalf of the Company that were not reasonable, good-faith
    expenditures incurred and/or approved consistent with the Executive's job
    responsibilities.

    8.       Confidential Information. The Executive agrees not to disclose the existence or
    terms of this Agreement, any claims that have been or could have been raised against the
    Company, or any facts and circumstances underlying this Agreement, except as necessary
    (i) to the Executive's tax advisors or legal counsel so long as they are advised that they
    must keep such information strictly confidential, (ii) to taxing authorities if requested by
    such authorities and so long as they are advised in writing of the confidentiality
    provisions of this paragraph, (iii) pursuant to an order of a court or governmental agency
    of competent jurisdiction, or (iv) in a legal filing by which the Executive seeks to enforce
    this Agreement. Upon service on the Executive, or anyone acting on the Executive's
    behalf, of any subpoena, order, directive or other legal process (a "Legal Document")
    requiring the Executive to engage in conduct prohibited by this Agreement, the Executive
    or the Executive's attorney shall immediately notify the Company of such service,
    provide a copy of the Legal Document to the Company, and advise the Company of the
    content of any testimony or information to be provided by the Executive pursuant to such
    Legal Document, prior to providing any testimony or information.

    9.       Injunctive Relief. The Executive acknowledges and agrees that the Executive's
    promises, agreements and covenants in this Agreement are reasonable and necessary for
    the protection of the Company's reasonable business interests, that irreparable injury will
    result to the Company if the Executive breaches any such agreements or covenants, and
    that in the event of the Executive's actual or threatened breach of any such agreements or
    covenants, the Company will have no adequate remedy at law. Accordingly, the
    Executive agrees that, in the event of any actual or threatened breach by the Executive of
    any of said agreements or covenants, the Company will be entitled to immediate
    injunctive and other equitable relief, without bond and without the necessity of showing
    actual monetary damages, in addition to any and all other remedies at law or at equity
    which the Company may have.

    10.    Assistance and Cooperation. The Executive agrees, at all times after the
    Termination Date, to assist and cooperate fully with the Company and its officers,
    directors, employees, agents and legal counsel, in connection with the defense or
    prosecution of any claim, complaint, charge, action or investigation that may be made by,
    against or involving the Company, including without limitation relating to any
    proceeding before any arbitral, administrative, judicial, legislative, or other body or
    agency. The Executive's cooperation with the Company shall continue throughout the
    pendency of any such claim, complaint, charge, action or investigation. Further, the
    Executive promises and agrees that, in the event the Executive is subject to a valid and
    enforceable subpoena or court order which compels the Executive's testimony at a trial,
    hearing or deposition concerning the Executive's relationship with the Company or any
    other matter relating to the Company or any of the Releasees, the Executive will provide
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    reasonable and prompt notice to the Company of this fact and cooperate fully with the
    Company prior to and during the Executive's testimony, to the maximum extent possible,
    consistent with the Executive's obligation to provide truthful testimony. The Executive's
    cooperation in this regard shall include, but shall not be limited to, full consultation with
    reasonable notice, at a reasonable time, with the Company's officers, directors,
    employees, agents and legal counsel. The Executive further agrees that, in the event the
    Executive is named as a defendant in a legal proceeding resulting from, arising out of, or
    connected directly or indirectly with the Executive's employment with the Company, or
    any act, omission or conduct occurring during the Executive's employment with the
    Company, the Executive will provide reasonable and prompt notice of this fact to the
    Company. The Executive further agrees to perform all acts and execute and deliver to the
    Company any documents that may be reasonably necessary to carry out the provisions of
    this Agreement.

    11.   Public Statement, Announcement Or Disclosure. The Executive agrees not to
    make any communication, statement, announcement or disclosure to the general public
    regarding the terms, provisions or conditions surrounding the termination of the
    Executive's employment with the Company, unless such communication, statement,
    announcement or disclosure is agreed to in writing, in advance, by the Company.

    12.    Breach. To the extent permitted by applicable law, should the Executive breach
    this Agreement then, in addition to any other rights or remedies the Company may have
    in equity or at law, the Executive shall (a) forfeit the Executive's right to any future
    payment under this Agreement, including without limitation any unpaid severance, (b)
    immediately return to the Company all consideration paid to the Executive pursuant to
    this Agreement, including without limitation any paid severance, and (c) indemnify and
    hold harmless the Company from and against all damage, loss, harm or expense which
    the Company may suffer or incur as a result of such contest, challenge or breach,
    including without limitation any and all attorneys' fees incurred by the Company relating
    to defense or enforcement of this Agreement.

    13.     Severability. If any provision of this Agreement, or any portion thereof, is held
    by a court of competent jurisdiction to be illegal, invalid or unenforceable or to conflict
    with any federal, state or local law as written, such provision or portion or portions of this
    Agreement shall be interpreted so as to be legal, valid and enforceable; provided,
    however, that if the Release herein for any reason should be held invalid or unenforceable
    in whole or part, then the Executive agrees to execute a new release in form provided by
    the Company so as to provide the Company with the broadest possible release permitted
    by law. In any such case, the Executive shall not receive any additional compensation or
    payment in connection with the revision or re-execution. If any court of competent
    jurisdiction shall hold any of the Executive's promises or covenants in this Agreement to
    be unreasonable or unenforceable in any jurisdiction because of its duration, geographic
    area, or otherwise, such restrictions shall be deemed reduced and narrowed to the extent
    necessary in the opinion of such court to make the restrictions valid, reasonable and
    enforceable in such jurisdiction and shall be enforced as amended to the maximum
    equitable extent.

    14.    Assignability And Binding Effect. This Agreement, and all the provisions
    contained herein, shall be binding upon, inure to the benefit of, and be enforceable by the
    Executive's heirs, beneficiaries, executors, administrators and personal representatives,
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    and shall be binding upon, inure to the benefit of, and be enforceable by the Company, its
    parent companies, any other subsidiaries of its parent companies, and its or their
    respective successors and assigns. This Agreement may be transferred or assigned by the
    Company. The Executive's obligations under this Agreement may not be delegated by
    the Executive and the Executive may not assign, transfer, pledge, encumber, hypothecate
    or otherwise dispose of this Agreement, or any of the Executive's rights or obligations
    hereunder, and any such attempted delegation, assignment, transfer or disposition by the
    Executive shall be null, void and without effect.

    15.     Neutral Construction. This Agreement shall be construed as if drafted jointly by
    the Executive and the Company, and no interpretation, presumption or burden shall arise
    by virtue of authorship.

    16.     Entire Agreement. This Agreement contains the entire understanding and
    agreement between the parties with respect to its subject matter, and supersedes all prior
    oral or written understandings and agreements relating thereto, except that (a) the terms
    and provisions of the Restrictive Covenants in the EA (and defined terms found
    elsewhere in the EA that are used to interpret, understand, implement and enforce the
    terms and provisions of the Restrictive Covenants of the EA), and (b) any agreements,
    provisions or promises by the Executive regarding confidentiality, non-disclosure of
    information or property, non-competition or non-solicitation shall survive and remain in
    force and effect. The Executive affirms that, in entering into this Agreement, the
    Executive is not relying upon any other oral or written promise or statement made by
    anyone at any time. This Agreement may not be changed or altered, except by a writing
    signed by both the Executive and the Company.

    17.      Governing Law. This Agreement will be governed by and construed in
    accordance with the laws of the State of Delaware, without regard to the choice of law
    principles thereof. The parties agree that any dispute, controversy or claim arising out
    of this Agreement, except for any action by the Company for injunctive or equitable
    relief (including without limitation such relief to enforce the Restrictive Covenants or the
    IP Agreement) which may be commenced in any court of competent jurisdiction, shall be
    finally settled by arbitration in Chicago, Illinois in accordance with the Commercial
    Arbitration Rules of the American Arbitration Association in effect on the date of this
    Agreement and judgment upon the award may be entered in any court having jurisdiction
    thereof.

    18.   Captions. Captions used herein are for convenience of reference only and shall in
    no way affect interpretation of this Agreement.

    19.    Counterparts. This Agreement may be executed in one or more counterparts, each
    of which shall be deemed to be an original, but all of which together shall constitute one
    and the same instrument.

    20.     Knowing and Voluntary Agreement. The Executive acknowledges and agrees
    that the Executive has had a full opportunity to review the terms and provisions of this
    Agreement and that the Executive enters into this Agreement after appropriate
    investigation and consideration of the meaning and effect of the terms of this Agreement
    and without reliance upon any representation of any other party to this Agreement other
    than those specifically set out herein and that the Executive understands this Agreement
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     constitutes a final and complete release of all claims against the Company, regardless of
     their kind or character, including any possible claim which might be discovered in the
     future, arising out of the factual basis or allegations of any lawsuit either previously filed
     or filed in the future. By executing this Agreement, the Executive represents and agrees
     that the Executive has carefully read and fully understand all the provisions of this
     Agreement, and that the Executive is knowingly and voluntarily entering into this
     Agreement.

     21.     Opportunity for Review With Counsel. The Company hereby advises the
     Executive in writing to talk with the Executive's attorney before executing this
     Agreement. The Executive expressly acknowledges that the Executive has been advised
     to consult with an attorney prior to signing this Agreement. By executing this
     Agreement, the Executive represents, acknowledges and agrees that the Executive fully
     understands the Executive's right to discuss all aspects of this Agreement with the
     Executive's own attorney, that to the extent the Executive wanted to talk to an attorney
     the Executive has availed the Executive of that right, that the Executive has carefully read
     and fully understands all the provisions of this Agreement, and that the Executive is
     knowingly and voluntarily entering into this Agreement. The Executive further
     represents, acknowledges and agrees that the Executive enters into this Agreement after
     appropriate investigation and consideration of the meaning and effect of the terms of this
     Agreement and without reliance upon any representation of any other party to this
     Agreement other than those specifically set out herein, and that the Executive
     understands this Agreement constitutes a final and complete release of all claims against
     the Company, regardless of their kind or character, including any possible claim which
     accrued prior to the date the Executive executes this Agreement, but is discovered in the
     future.

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     22.     Consideration Period_ The Executive understands and acknowledges that the
     Executive have been given until the close of business on May 16, 2012 to consider the
     terms of this Agreement and sign this Agreement (the "Consideration Period"). If the
     Executive has not signed and returned this Agreement to the Company prior to the close
     of business on May 16, 2012, then the Company's offer to provide the Executive with the
     payments and benefits set forth in this Agreement shall automatically be withdrawn and
     rendered null and void.

                                                    Very truly yours,


                                                     Y:
                                                            illiam V. Margie, Chief Finetfelal   .
                                                          Officer and Chief Operating Officer
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                                                                      Exhibit A.

                                      LETTER   TION



                                                                  May 14, 2012




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              Effc                              X312, hereby resign from the
      director




      cc: Stephan G.             •
